     Case 7:11-cv-00754-BJR-ATB Document 241-1 Filed 04/21/15 Page 1 of 2




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
______________________________________________________________________________

MARK HOGAN; ELIZABETH M. HOGAN;
MARK HOGAN and ELIZABETH M. HOGAN
as Guardians and o/b/o their minor children, J.H.
and I.H.; DENNIS B. OKUDINANI as Guardian
and o/b/o D.O.,                                               AFFIRMATION OF
                                                              ELIZABETH HOGAN

                              Plaintiffs,
                                                              7:11-CV-754 (LEK/ATB)
       -against-

COUNTY OF LEWIS, NEW YORK; SERGEANT
RYAN LEHMAN, in his individual and official
capacity; DEPUTY BRETT CRONEISER, in his
individual and official capacity; DAVID VANDEWATER;
FRANK ROSE; RUSSELL FALTER; KATHY WILSON;
LEANNE MOSER, in her individual and official
capacity as an Assistant District Attorney for the County
of Lewis, New York; and JOHN DOE(S) and JANE DOE(S),

                        Defendants.
______________________________________________________________________________

       Elizabeth Hogan, being duly sworn, affirms the following statements to be true under

penalty of perjury:

       1.      I am a Plaintiff in this action, and am fully familiar with the facts and

circumstances in this case.

       2.      I make this affirmation in support of Plaintiffs’ request for trial preference.

       3.      In September 2012, I was diagnosed with stage 4 breast cancer.

       4.      At the time of diagnosis, the cancer had metastasized and spread to my liver.

       5.      I underwent chemotherapy treatments every three weeks, which caused me to be

debilitated for approximately 5 days following each treatment. Side effects of the treatments
Case 7:11-cv-00754-BJR-ATB Document 241-1 Filed 04/21/15 Page 2 of 2
